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AO 108 (Rev. 06/09) Application for a Warrant to Seize Property Subject to Forfeiture


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                                        United States District Co
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                                                                                                                               I ? 2017 i:U(
                                                            Eastern District of Virginia
                                                                                                                  CLERK. U.S. DISTRICT COURT
                In the Matter of the Seizure of                                                                       A!.EX^Knr:!^,VlHol>;iA

              (Briefly describe the property to be seized)
                                                                                          Case No.   1:17sw324
  Capital One Bank Account Nos. 000018-4326-8043 and
              000083-1650-3048, held in the name of
                            Adelaja Ajojuraye

                                                      APPLICATION FOR A WARRANT
                                         TO SEIZE PROPERTY SUBJECT TO FORFEITURE


          I, a federal law enforcement officer or attorney for the government, request a seizure warrant and state under
penalty of perjury that I have reason to believe that the following property in the                          Eastern          District of
              Virginia                 is subject to forfeiture to the United States of America under                   18         U.S.C. §
        981          (describe the property)'.
Capital One Bank Account Nos. 000018-4326-8043 and 000083-1650-3048, held in the name of
Adelaja Ajojuraye




          The application is based on these facts:

SEE ATTACHED AFFIDAVIT




          •    Continued on the attached sheet


                                                                                                                    lA.
                                                                                                         Applicant's sign
 Reviewed by AUSA/SAUSA:
                                                                                               Michelle J. Fedyszen, FBI Special Agnet
      AUSA Karen L Taylor                                                                                Printed name and title




Sworn to before me and signed in my presence.


                                                                                                                /s/
                                                                                               Michael S. Nachmanoff
Date:      06/15/17 3:45pm
                                                                                               Unilod State5_^^yi^^^udge
City and state: Alexandria, Virginia                                                    Michael S. Nachmanoff, United States Magistrate Judge
                                                                                                         Printed name and title
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                            UNITED STATES DISTRICT COURT
                                                                                  . ••! i 5 2017
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                              CLERK, li.S. DISTRICT COURT
                                                                                             ViPGlHiA
                                  ALEXANDRIA DIVISION


IN THE MATTER OF THE SEIZURE OF
ALL FUNDS IN THE BELOW ACCOUNTS:                            CASE NO. l:17-SW-324


CAPITAL ONE BANK ACCOUNT NOS.
000018-4326-8043 AND 000083-1650-3048,
HELD IN THE NAME OF ADELAJA
AROJURAYE



                   AFFIDAVIT IN SUPPORT OF SEIZURE WARRANT


       I, Michelle L. Fedyszen, being duly sworn, hereby depose and state as follows:

       1.      I am a Special Agent employed by the Federal Bureau of Investigation (FBI). I

have been so employed since 2001. Currently I am assigned to the Asset Forfeiture Squad in the

FBI's Washington Field Division. My assignments include investigating the asset forfeiture

aspects of suspected violations that include, but are not limited to, mail fraud (Title 18, United

States Code, Section 1341), wire fraud (Title 18, United States Code, Section 1343), and money

laundering (Title 18, United States Code, Sections 1956 and 1957). In addition to the law

enforcement training I have received in these matters and general criminal investigations, I have

also attended the Money Laundering conference.

       2.      I have been assigned to assist in the asset forfeiture investigation involving the

defendant, Adelaja Allen Arojuraye (Arojuraye), and thus, am familiar with efforts to locate the

proceeds of the defendant's criminal conduct. The information contained in this affidavit is based

on information provided to me by other law enforcement agents, and is based on a review of

various documents and records.
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       3.      On April 21, 2017, Arojuraye, pled guilty to a three-count criminal information

charging the defendant with wire fraud, in violation ofTitle 18, United States Code, Section 1343;

theft of government money, in violation of Title 18, United States Code, Section 641; and passport

fraud, in violation ofTitle 18, United States Code, Section 1542. The defendant agreed to the entry

of a forfeiture money judgment in the amount of $502,716.00, and the forfeiture of all interests in

any fraud or government theft related asset that is traceable to, derived from, ftmgible with, or a

substitute for property that constitutes the proceeds of the offenses. On June 7, 2017, that money

judgment was entered by United States District Judge Claude M. Hilton (Dkt. #10; l:17cr87

(EDVA)).

       4.      In searching for criminal proceeds from the wire fraud and theft of government

money, agents of the U.S. Department of Education, Office of Inspector General (OIG), Social

Security Administration OIG, U.S. Department of State OIG, and National Science Foundation

OIG conducted an investigation into Arojuraye's assets, including assets directly traceable to the

wire fraud, theft of government money and possible substitute assets.

       5.      Pursuant to paragraph 11(g) of the plea agreement, on April 26, 2017, Arojuraye

provided a list ofall financial and investment accounts and account balances in which he exercised

any control. See the table for a summary of the accounts:

 FINANCIAL INSTITUTION       ACCOUNT HOLDER(S)           ACCOUNT NUMBER           BALANCE


 AMERICAN EXPRESS            ADELAJA AROJURAYE           151-463-1389                 $11,034.15
 BANK OF AMERICA             ADELAJA AROJURAYE           4350-2993-0030                $2,232.49
 BANK OF AMERICA             ADEIAIA AROJURAYE           4350-3876-0398                $2,348.50
 BANK OF AMERICA             ADELAJA AROJURAYE           0094-6674-2568                $3,010.47
 BANK OF AMERICA             ALLEN AROJURAYE &           4350-3829-1171                $2,347.43
                             THOMPSON
                             AROJURAYE
 BANK OF AMERICA             ALLEN AROJURAYE &           4350-2991-5770                $2,864.90
                             JULIANAH AROJURAYE
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 BANK OF AMERICA              ADELAJA AROJURAYE            4350-2993-0043                    $500.24
 BANK OF AMERICA              ADELAJA AROJURAYE            4350-3876-0408                    $555.56
 BANK OF AMERICA              ALLEN AROJURAYE &            4350-3829-1184                    $500.00
                              THOMPSON
                              AROJURAYE
 BANK OF AMERICA              ALLEN AROJURAYE &            4350-2991-5796                    $500.00
                              JULIANAH AROJURAYE
 BANK OF AMERICA/             ADELAJA AROJURAYE            29Z-43A28                     $49,577.82
 MERRILL EDGE
 CAPTIAL ONE BANK             ADELAJA AROJURAYE            000018-4326-8043                   $70.63
 CAPITAL ONE BANK             ADELAJA AROJURAYE            000083-1650-3048                  $399.60
 DISCOVER BANK                ALLEN AROJURAYE &            590-192282-8                      $155.79
                              THOMPSON
                              AROJURAYE
 DISCOVER BANK                ALLEN AROJURAYE &            700-284915-6                      $102.96
                              JULIANAH AROJURAYE
 JP MORGAN CHASE              ADELAJA AROJURAYE            000-0007-0825-6185       $2,489.19
 JP MORGAN CHASE              ADELAJA AROJURAYE            000-0023-3073-0256         $300.00
                                                                            TOTAL: $78,989.73


       6.      The total balance of funds identified by Arojuraye is subject to forfeiture in partial

satisfaction of the money judgement.

       7.      In attempting to trace the criminal proceeds, it appears that the defendant has spent

many of those proceeds during the years of the scheme and has conducted various financial

transactions that have complicated the effort to trace the funds.

       8.      Therefore, based upon my experience and training, and given that the case agents

have not been able to locate any current assets traceable to the criminal activity, I believe that as a

result of the acts or omissions of Arojuraye the criminal proceeds have been transferred or

deposited with an unidentified third party, have been placed beyond the jurisdiction of this court,

and have been substantially diminished in value, or commingled with other property which cannot

be divided without difficulty.
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       9.     Your affiant requests that the Court issue a seizure warrant allowing law

enforcement agents with the FBI to seize the aforementioned accounts.




                                                           Michelle L. Fedyszen, Special Ag^t
                                                           Federal Bureau of Investigation

Subscribed and sworn to before me on the 15th day of June, 2017, at Alexandria, Virginia.

                                                                             /s/
                                                             Michael S. Nachmanoff
                                                             United States Magistrate Judge
                                                           Michael S. Nachmanoff
                                                           United States Magistrate Judge
